                          IN THE UNITED STATES DISTRICT COURT

                              EASTERN DISTRICT OF WISCONSIN



WILLIAM FEEHAN, DERRICK VAN
ORDEN,
                 Plaintiffs,                                CASE NO. 2:20-cv-1771
          v.

WISCONSIN ELECTIONS COMMISSION,
and its members ANN S. JACOBS, MARK L.
THOMSEN, MARGE BOSTELMAN, JULIE
M. GLANCEY, DEAN KNUDSON, ROBERT
F. SPINDELL, JR., in their official capacities,
GOVERNOR TONY EVERS, in his official
capacity,
                      Defendants.

 ____________________________________________________________________________

                    PLAINTIFFS’ DISCLOSURE STATEMENT
 ____________________________________________________________________________


  The undersigned, as counsel of record for Plaintiffs William Feehan and Derrick Van Orden

provide the following information in compliance with Federal Rule of Civil Procedure 7.1 and

Civil L.R. 7.1:

       1. Full name of every party the attorneys represents in this matter:

                       All Plaintiffs: William Feehan and Derrick Van Orden

       2. Parent corporations and stockholders:

            a. Parent corporations, if any:

                        Not applicable.

            b. List of corporate stockholders that are publicly held companies owning 10

                  percent or more of the stock of the party or amicus:

                        Not applicable.
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3. The name of all law firms whose partners or associates appear for a party or are

   expected to appear for the party in this court:

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       ** Applications for admission forthcoming




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Dated December 1, 2020

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